                 IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                         NO. 5:19-CV-00441-FL


UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )
                                             )
            v.                               )                ORDER
                                             )
ABHISHEK KRISHNAN’S REAL AND                 )
PERSONAL PROPERTY                            )
                                             )
                                             )
                   Defendants.               )

      This matter is before the Court on Plaintiff United States of America’s

Motion for Default Judgment (DE 63) against the following assets at issue in

this civil-forfeiture action: (1) U.S. Currency in the amount of $500,000, formerly

held in TD Ameritrade Account *3860; (2) U.S. Currency in the amount of

$1,225,778.30, formerly held in Bank of America Account *3846; and (3) U.S.

Currency in the amount of $3,140.91, formerly held in Bank of America Account

*4234 (the “Defaulted Property”).

      It appears from the record that Plaintiff provided direct notice of this in rem

forfeiture matter to known claimants, including through counsel where applicable,

and separately published the requisite notice on an official internet government

forfeiture site in accordance with Supplemental Rule G(4) of the Supplemental Rules

of Admiralty or Maritime Claims and Asset Forfeiture (the “Supplemental Rules”).




         Case 5:19-cv-00441-FL Document 65 Filed 10/19/20 Page 1 of 3
      Accordingly, with due notice having been provided by the United States as

required under the Supplemental Rules, the Court finds that:

      A.      Process was duly issued in this cause and the Defaulted Property was

duly seized by the United States pursuant to said process;

      B.      Although certain claimants appeared and filed claims with respect to

the Defaulted Property, those claims were stricken by this Court [D.E. 55.]

      C.      Except for the stricken claims, no other person has filed any claim to the

Defaulted Property nor answer to the Plaintiff’s Complaint within the time fixed by

law and in accordance with the requirements of the Supplemental Rules;

      D.      On October 13, 2020, and based upon the request and showing of the

United States, this Court entered Default with respect to the Defaulted Property in

this action at Docket Entry 62; and

      E.      The well-pled allegations of the Complaint in respect to the Defaulted

Property are taken as admitted.

      Based upon the above findings, it is hereby

      ORDERED that:

      1.      Default judgment be entered against the Defaulted Property,

including the following assets: (1) $500,000, formerly held in TD Ameritrade Account

*3860; (2) $1,225,778.30, formerly held in Bank of America Account *3846; and

(3) $3,140.91, formerly held in Bank of America Account *4234;

      2.      All persons claiming any right, title, or interest in or to the said

Defaulted Property are held in Default;

                                           2


           Case 5:19-cv-00441-FL Document 65 Filed 10/19/20 Page 2 of 3
      3.      The Defaulted Property is forfeited to the United States of America;

      4.      The United States is hereby directed to dispose of the Defendants

according to law; and

      5.      As this order directs final judgment with respect to less than all

defendants in this matter, in accordance with Rule 54(b) of the Federal Rules of Civil

Procedure, the Court finds that entering such judgment at this time is appropriate

and there is no just reason for delay.

      6.       Accordingly, the instant motion is GRANTED, and the clerk is

DIRECTED to enter a separate judgment containing enumerated items 1-4 herein,

in accordance with Federal Rule of Civil Procedure 58(a).


     SO ORDERED this 19th day of October, 2020.


                              __________________________________________
                              LOUISE WOOD FLANAGAN
                              UNITED STATES DISTRICT JUDGE




                                          3


           Case 5:19-cv-00441-FL Document 65 Filed 10/19/20 Page 3 of 3
